rial Fnrm |}(!H/],j}
                                                                                                                                                             15-04"'4"
                                                United States Bankruptcy Court                                                                                                              Voluntary Petition




)
                                                                 District of Arizona
 Name of Debtor (if individual, enter Last, First, Middle):                                                          Name ofjoint Debtor (Spouse) (Last, First, Middle ;j
    HUCKABY, ROSALYN



All Other Names used by the Debtor in the last 8 gears                                                               Ail Other Names used by the Joint Debtor in the last 8 years                                                      '
 (include married, maiden, and trade names):                                                                         (include married, maiden, and trade names):




 Last fOur digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Compkte EN                                         Last four digits of Soc. Sec. or Individua1-Taxpayer l.D. (ITIN) No./Complete EIN
 (if more than one, state all)                                                                                       (if more than one. state all)

    XXX-XX-004O
 Street Address of Debtor (No. and Street, Ctty, and State):                                                         Street Address of Join't Debtor (No. ad Street, Cit\·. and Statei:
    4713 S. 23RD LANE
    Phoenix, AZ
                                                                                                ZIP Code                                                                                                                                           ZiP CodS,

                                                                                             85041
 County of Residence or of the Prijicipa] Place of Business:                                                         County of Residence or of the Principal Place of Business:

    Maricopa

 Mailing Address of Debtor (if different from street address):                                                       Mailing Addrcss of Joint Debtor (ifdifferent from street address):




                                                                                                ZIP Code                                                                                                                                            ZIP Code


 Location of Principal Assets of Business Debtor
 (if different Hom street address above):




                         Type of Debtor                                         Nature of Business                                                       Chapter of Bankruptcy Code Under 'Which
             (Form of Organization) (Check one box)                                     (Check one box)                                                       the Petition is Filed (Check one box)
  lW lndividua] (includes Joint Debtors)                          CI Health Care Business                                            Ill Chapter 7
       Sue l:rhibit I) onpage 2 ()/'lhls./t)r/n.                 i B Single Asset Real Estate as defined                       ' Q Chapter 9                                  a Chapter 15 Petition tOr Recognition
  D Corporation (includes LLC and LLP)                                  in ll U.S.C. § lOl (SIB)                                     a Chapter l ]                                 ofa Foreign Main Proceeding
  D Partnership                                                   Q Railroad                                                         D Chapter 12                             O C ¶hapter 15 Petition for Recognition
  O Other (If debtor is not one of the above enhlies,             Q Stockbroker
     check this box and state type of entity below.)              O Commodity Broker                                                 D Chapter l3                                  of a Foreign Nonmain Proceeding
                                                                  D Clearing Bank
                                                                   a Other                                                                                           '       Natur; if Debts                              '
                      Chapter 15 Debtors                                           '-                                                                                         (Check one box)
   Country of debtor's center of main interests:                               Tax-Exem pl Entity
                                                                              (Check box, if applicable)                             Ill Debts are primarily consumer debts,                                                  [J Debts are primarily

  Each countiy in which a foragn proceeding                          [J Debtor is a tax-exempt organization                              defined in I I U.S.C. § lOl(8) as                                                       business debts.
  by, regarding, or against debtor is pending:                           under Title 26 of the United States                             "incurred by an indiwdual primarily for
                                                                         Code (the Internal Revenue Code).                       _       C personal, family, or household purpose."

                                 Filing Fee (Check one box)                                         Check one box:                                           Chap'ier 11 Debtors

  W Full FilinE Fee attached                                                                         D   Debtor is a small busincss debtor as defined in \ I U.S.C. § |() l(5 1 D).
                                                                                                     R   Debtor is not a small business debtor as defined Ill l l U.S.C. S lO ](5 ID).
  D Filing Fee to be paid in installments (applicable to indlvlduals only). Must                    Check if:
     attach signed application for the COllj1'8 consideration certifying that the                    a   Debtor's aggregate noncomingent liquidated debts (excluding debts owed to insiders or affihales)
       debtor is unable to pay fee except in installments. Rule I006(b). See OlTicial                          are less lhan 52,490.' 2 5
                                                                                                                                            )    ( untuunl                                                    (
                                                                                                                                                             shb/'ecl Ii) ad/lls[mL'/l/ ()/1 4. ()/ / ) und erery three years /htr¢a/kt:/.
                                                                                                                                                                                                                                                         "
        FOrm 3A.
                                                                                                    Check all apphcable boxes:
   D Filing Fee waiver requested (applicable to chapter 7 individuals only). MuSt                      D       A plan is being filed with this pctition.
       attach signed application for the court's considcration. See Official Form 38·                  A       Acceptances of' the plan were sohciled prepetition from one or inore classes of creditors,

                                                                                                               in accordance with l l U.S.C. § ll26(b).


  Statjstical/Admin'istrative Information                                                                                                                                       THIS SPACE IHOR COURMSE ONLY
                                                                                                                                                                                                         cr C"                             ""d}
    CI Debtor estimates that funds wtl1 be available fOr distribution to unsecured creditors.                                                                                                           ~: :"                              .7
    II Debtor estimates that, aNer any exempt property is excluded and administratwc expenses paid,                                                                                                  -m ."'
                                                                                                                                                                                                      ..
                                                                                                                                                                                                     ," ' \       F "'"               .'n'.=
        there will be no Ibnds available fOr distnbution to unsecured creditors.
                                                                                                                                                                                                     .. . . .
                                                                                                                                                                                                     - - ;µ ,...                      Xj
  Estimated Number of Cred itors                                                                                                                                                                                  ,                   ~~           "rj
                        a            D               a           Q             a                a                D                   D               n                                                            ":"'             CJ1            =
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  Estimated Assets
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                                                     million     million       million          million          million                                                                                                        CO

  Estimated Liabilities
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        SO la         Case 2:15-bk-04347-BKM
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81 (Official Form 1)(04/13)                                                                                                                                                Page 2

Voluntary Petition                                                                    Name of Debtor(s)'
                                                                                        HUCKABY, ROSALYN
(This page must be completed andji/ed in every case,'

                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)

Location                                                                              Case Number:                                  Date Filed:
Where F lied: - None -

Location                                                                              Case Number:                                  Date Filed:
Where Filed:

                 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor ([fmore than one, attach additional sheet)

Name of Debtor:                                                                       Case Number:                                  Date Filed:
 - None -

District'                                                                             Relationship:                                 Judge:



                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individua] whose debts are primarily consumer debts.)

  (To be completed if debtor is required to file periodic reports (e.g.,                [, the attorney for the petitioner named in the foregoing petition, declare that I
  forms IOK and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she) may proceed under chapter 7, 1 l,
  pursuant to Section 13 or l5(d) of the Securities Exchange Act of 1934                ]2, or 13 of title 1 l, United States Code, and have explained the relief available
  and is requesting relief under cbapter 1 I.)                                          under each such chapter. I further certify that [ dclivered to the debtor the notice
                                                                                        required by I! U.S.C. §342(b).

    n Exhibit A is attached and made a part of this petition.                           X
                                                                                            Signature of Attorney for Deblor(s)                     (Date)




                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

    B Yes. and Exhibit C is attached and made a part of this petition.

    IB No.


                                                                                Exhibit D
  (To be completed by every individual debtor, If a.joirjt petition is filed, each spouse must complete and attach a separate Exhibit D.)

    Ill Exhibit D completed and signed by the debtor is attachcd and made a pan of this pctition.

  [i this is ajoin( petihon:

    D Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                          Information Regarding the Debtor - Venue

                                                                     (Check any applicable box)
                     Debtor has been domiciled or has had a residence, principal place of business. or principal assets in this District for l BO
                     days immediately preceding the date of this petition or for a longer part of such 1 80 days than in any other District.

             D       There is a bankruptcy case concerning debtor's affi liate, general partner, or partnership pending in this District.

             D       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                     this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                     proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                     sought in this District.

                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                    (Check all applicable boxes)

             a       Landlord has a .judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                      (Name of landlord that obtamed judgment)




                                      (Address of landlord)


             D       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                     the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             D       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                     after the filing of the petition.
                 Case 2:15-bk-04347-BKM                       Doc 1 Filed 04/15/15 Entered 04/15/15 15:22:03                                                 Desc
             a       Debtor certifies that he/she has served the Landlord with this certification. (1 1 U.S.C. § 362(1)).
                                                                 Pleading Page 2 of 5
Bl (Official FOrm 1)(O4/13)                                                                                                                                                                                                                                                  Pafe 3

    Voluntary Petition                                                                                             Name of Debtor(s):
                                                                                                                     HUCKABY, ROSALYN
    (This page must be completed andjiled in every case)
                                                                                                           Signatures
                         Signature(s) of Debtor(s) (Individual/joint)                                                                                Signature of a Foreign Representative

        I declare under penalty of perjury that the information provided in this                                    l declare under penalty of perjury that the information provided in this petition
        pemon is true and correct.                                                                                  15 true and correct, that I am the foreign representatwe of a debtor in a foreign
        [If petitioner is an individual whose debts are primarily consumer debts and                                proceeding. and that I am authorized to file this petition.
        bas chosen to file under chapter 7]1 am aware that I may proceed under
        chapter 7, II, 12, or 13 of title 11, United States Code, understand the relict'                            (Check only one box.)
        available under each such chapter, and choose to proceed under chapter 7.                                   a I request relief in accordance with chapter 15 oftitle l l. United States Code.
        [Ifrio attorney represents me and no bankruptcy petition preparer sIgns the                                     Certified copies of the documents required by 11 U.S.C. § 15 IS are attached.
        petition] I have obtained and read the notice required by ! 1 U.S.C. §342(b).
                                                                                                                    Q Pursuant to ] l U.S.C. § IS II, I request relief in accordance with the chapter
        I request relief in accorda*e with the chapter of title li, United States Code,                                   of title li speafied gri thts petition. A certified copy of the order granting
        'p'"fi'd "vt))laii:'                                      ~,                                               X '"°g"t'o' dthe foreign main proceeding is attached.

    X         t                                                                                                       Signature of Foreign Representative
        Signature qf Debtor RosATttyY

    X                                                                                                                 Printed Name of Foreign Representative

        Signature of Joint Debtor
                                                                                                                      Date
         602-579-9785
        Telephone Number (If not represented by attorney)                                                                      Signature of Non-Attorney Bankruptcy Petition Preparer

        April 7, 2015                                                                                                 [ declare under penalty of" perjury that: (I) i am a bankruptcy petition
        Date                                                                                                          preparer as defined in ] l U.S.C. § I 10; (2) [ prepared this document for
                                                                                                                      compensation and have provided the debtor with a copy of this document
                                          Signature of Attorney*                                                      and the notices and information required under II U.S C §§ ] lO(b),
                                                                                                                      l lO(h). and 342(b): and, (3) if rules or guidelines have been promulgated
                                                                                                                      pursuant to ] ] U.S.C. § llO(h) setting a maximum Ne fOr services
    X Debtor not represented by attorney
                                                                                                                      chargeable by bankruptcy petition preparers, I have given the debtor notice
      Signature of Attorney for Debtor®                                                                               of the maximum amount before preparing any document for filing for a
                                                                                                                      debtor or accepting any fee from the debtor, as required in that section.
                                                                                                                      Official Form 19 is attached.
        Printed Name ofAttorney for Debtor(s)
                                                                                                                      MITCHELL VARBEL
                                                                                                                      Printed Name and title. if any, of Bankruptcy' Petition Preparer
        Firm Name
                                                                                                                      81265
                                                                                                                      Social-Security number (If the bankrutpcy petition preparer is not
                                                                                                                      an individual, state the Social Security number ofthe officer,
                                                                                                                      principal, responsible person or partner of the bankruptcy petition
        Address                                                                                                       preparer.)(Required by 1 1 U.S.C. § I tO,)




        Telephone Number                                                                                              723 W. POLK ST.
                                                                                                                      PHOENIX, AZ 850O7
                                                                                                                      Address_ I
        Date
        *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
        certification that the attorney has no knowledge after an inquiry that the
        information in the schedules is incorrect
                                                                                                                      April 7, 2O15
                                                                                                                      Date
                        Signature of Debtor (Corporation/Partnership)
                                                                                                                                                            ""llj'tc}' Pt'tititurt :"reparer or dicer. µancipal. responsible
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                     Case 2:15-bk-04347-BKM                                               Doc 1 Filed 04/15/15 Entered 04/15/15 15:22:03                                                                                                                  Desc
                                                                                             Pleading Page 3 of 5
B ID (Ofliaal Form I, Exhibit D) (12/09)
                                                                United States Bankruptcy Court

 In re      ROSALYN HUCKABY
                                                                       District of Arizona            lS-04347
                                                                                                 Case No.
                                                                               Debtor(s)         Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must/i/e this Exhibit D. Y"aj'oinlpetition is ji/ed, each spouse must complete
and file a separate Exhibit D. Check one of the./ive statements below and attach any documents as directed.

         Ill 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy ofthe certi/ica/e and a copy
Qfany debt repaymentplan developed through the agency.

         D 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You mustjile a copy ofa
certificate /Fom the agency describing the servicesprovided to you and a copy ofany debt repaymen/ plan
developed through the agency no later than 14 days qfter your bankruptcy case is./iled,

        R 3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

        If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

       n 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion./Or determinaUon by the courl.]
Software C opyr ght (C) 1996-2014 Best Case. LLC - www bestcase com                                              Best Case Bankruptcy




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                                                                   Pleading Page 4 of 5
 B ID (Otlicial Form 1, Exhibit D) (12/09) - COnt                                                                                            Page 2


                       D Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
               mental deficiency so as to be incapable of realizing and making rational decisions with respect to
               financial responsibilities.);
                       n Disability. (Defined in 1 l U.S.C. § l09(h)(4) as physically impaired to the extent of being
               unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
               through the Internet.);
                       A Active military duty in a military combat zone.

       a 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
               I certify under penalty of perjury that the inform                               'on Prtvided above is true and correct.


                                                            Signature of Debtor:         ,,,m

                                                            Date:        April 7, 2015                   l__j




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            Case 2:15-bk-04347-BKM                                       Doc 1 Filed 04/15/15 Entered 04/15/15 15:22:03           Desc
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